AO 322
                     Case 2:07-cr-00057-LGW-JEG Document 51 Filed 12/12/07 Page 1 of 2
(Rev . 9/79)                      INTERPRETER'S REPORT OF SERVICE AND
                                CLAIM M FOR COMPENSATION AND EXPENSE S
TO : Clerk of Court for the Southern District of Georgia                                         DATE Dec . 12, 200 7


I request payment be made for interpreter services performed before : PAYEE'S NAME, ADDRESS, TAX ID#
Anthony A. Alaimo, Judge Diana Gafford

(Name and Title of Presiding Judicial Officer)                                         D.G. Consulting, Inc.
                                                                                       201 Rivera Driv e
In the case of                                                                         St. Simons Island, GA 3152 2
United States of America vs . JESUS BONILLA GUTIERREZ Tax ID: 58-259761 8
CR 207-57-2 Telephone : 912-638-8304 wor k
           (Civil/Criminal Case Number)                                                770-639-4850 cell
Itemization of Services and Costs :
               Number of                                                                     Other Costs (Including
Date( s) Hours Days Hour                            Cost Per Day Total Compensation          Travel)                      Total Cost

12.12/07                '/2                                                                                               $94.00




                                                                                   TOTAL AMOUNT CERTIFIED FOR $94 .00



The following information is provided in support of the above services :

Type of Interpretation Provided :          Interpreter is: Nature of Proceedings :

x Simultaneous Certified                                                   Initial Appearance Pretrial Services Officer Intervie w

     Consecutive x Non-Certified Preliminary Hearing Probation Officer Interview

     Summary                                                               Arraignment Sentencin g
                                                                           Trial x Other

Foreign Language(s) Check if.                                                            Person Furnished Servic e

     Spanish                                     Hearing/Speech Impaired                      Defendant

CERTIFICATION : I certify under penalty of perjury that the foregoing i s true and correct . Executed on : 12/12/2007
                                                                                                                        (Date)




APPROVED FOR PAYMENT THIS DAY                                                             December 12, 2007

                                                                                                               (Date)


                                                                                          ANTHONY A. MO, JUDGE
 Case 2:07-cr-00057-LGW-JEG Document 51 Filed 12/12/07 Page 2 of 2
Case 2 :07-cr-00057-AAA-JEG           Document 17 Filed 10/11/2007             Page 1 of 1




                           UNITED STATES DISTRICT COURT 'Tt!,` :
                                                   .GIA=` .'
                           SOUTHERN DISTRICT OF GEOB
                                BRUNSWICK DIVISIO N
                                                                7, It A 0: 0 4

UNITED STATES OF AMERICA


               V.                                  Case No . : CR207-5 7


JESUS BONILLA GUTIERREZ

                                            ORDER



        The Court having determined, pursuant to Title 28 United States Code § 1827, that

an interpreter is required and should be designated in this case :

        IT IS ORDERED that Diana Gafford, a non -certified interpreter or otherwise
competent interpreter, is designated to serve as interpreter in this case . Compensation shall
be paid by the government at the rate of $175 .00 per day, with a minimum of one half
day's compensation of $94 .00 to be paid for each appear ance . Any claim for overtime shall
be paid at the rate of $29 .00 per hour . Claim for compensation shall be made on Form A.O.
322, furnished by the Clerk of Court .

        SO ORDERED this 11th day of October, 2007 .




                                                   ES E. GRAHAM
                                                   TED STATES MAGISTRATE JUDGE
